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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


DONALD COZZIE and BARBARA COZZIE, )
                                  )
           Plaintiffs,            )
                                  )
                                  ) No. 1:14-cv-06530
     v.                           ) Honorable Judge Manish S. Shah
                                  )
                                  ) Magistrate Judge Sheila M. Finnegan
LAW OFFICES OF JOHN EDWARD
                                  )
BRENNOCK
                                  )
                                  )
          Defendant,

             PLAINTIFFS' STIPULATION OF DISMISSAL WITH PREJUDICE

        NOW COME the Plaintiffs, DONALD COZZIE and BARBARA COZZIE (“Plaintiffs”),

by and through their attorneys, SULAIMAN LAW GROUP, LTD., and in support of Plaintiffs'

stipulation of dismissal, stating as follows:

        Plaintiffs, pursuant to settlement and Federal Rule of Civil Procedure 41, hereby stipulate

to the dismissal of their claims against the Defendant with prejudice. Each party shall bear their

own costs.


Dated: November 3, 2014                            Respectfully Submitted,


                                                   /s/ Mohammed O. Badwan
                                                   Mohammed O. Badwan, Esq. ARDC#6299011
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